JS-CAND 44 (Rev. 10/2020)                 Case 3:22-cv-04712 Document 1-1 Filed 08/17/22 Page 1 of 2
                                                                                    CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                    DEFENDANTS
 T.R., individually and as next friend to minor child E.R.                                                       Meta Platforms, Inc., f/k/a Facebook, Inc.; Snap, Inc.; TikTok Inc.; ByteDance Inc.

   (b) County of Residence of First Listed Plaintiff               Johnson, Texas                                    County of Residence of First Listed Defendant                      San Mateo, California
           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                           Attorneys (If Known)
 Laura Marquez-Garrett, Social Media Victims Law Center, 1390 Market St, Suite 200,
 San Francisco, CA 94102, Ph: 206-294-1348

II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                             and One Box for Defendant)
                                                                                                                                                  PTF         DEF                                        PTF             DEF
      1    U.S. Government Plaintiff        3    Federal Question                                        Citizen of This State                      1          1        Incorporated or Principal Place      4             4
                                                 (U.S. Government Not a Party)
                                                                                                                                                                        of Business In This State
                                                                                                         Citizen of Another State                     2          2      Incorporated and Principal Place     5            5
      2    U.S. Government Defendant        4     Diversity                                                                                                             of Business In Another State
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                         Citizen or Subject of a                      3          3      Foreign Nation                       6            6
                                                                                                         Foreign Country

IV.          NATURE OF SUIT                (Place an “X” in One Box Only)
          CONTRACT                                                      TORTS                                        FORFEITURE/PENALTY                           BANKRUPTCY                           OTHER STATUTES
   110 Insurance                         PERSONAL INJURY                        PERSONAL INJURY                      625 Drug Related Seizure of             422 Appeal 28 USC § 158                375 False Claims Act
   120 Marine                                                                                                            Property 21 USC § 881               423 Withdrawal 28 USC                  376 Qui Tam (31 USC
                                       310 Airplane                           365 Personal Injury – Product
   130 Miller Act                                                                 Liability                          690 Other                                   § 157                                  § 3729(a))
                                       315 Airplane Product Liability
   140 Negotiable Instrument                                                  367 Health Care/                                  LABOR                          PROPERTY RIGHTS                      400 State Reapportionment
                                       320 Assault, Libel & Slander
   150 Recovery of                                                                Pharmaceutical Personal                                                                                           410 Antitrust
                                       330 Federal Employers’                                                        710 Fair Labor Standards Act            820 Copyrights
       Overpayment Of                                                             Injury Product Liability                                                                                          430 Banks and Banking
                                           Liability                                                                 720 Labor/Management                    830 Patent
       Veteran’s Benefits                                                     368 Asbestos Personal Injury                                                                                          450 Commerce
                                       340 Marine                                                                        Relations                           835 Patent─Abbreviated New
   151 Medicare Act                                                               Product Liability
                                       345 Marine Product Liability                                                  740 Railway Labor Act                       Drug Application                   460 Deportation
   152 Recovery of Defaulted                                                  PERSONAL PROPERTY                                                                                                     470 Racketeer Influenced &
                                       350 Motor Vehicle                                                             751 Family and Medical                  840 Trademark
       Student Loans (Excludes                                                370 Other Fraud                                                                                                           Corrupt Organizations
                                       355 Motor Vehicle Product                                                         Leave Act                           880 Defend Trade Secrets
       Veterans)                                                              371 Truth in Lending
                                           Liability                                                                 790 Other Labor Litigation                  Act of 2016                        480 Consumer Credit
   153 Recovery of                                                            380 Other Personal Property
                                       360 Other Personal Injury                                                     791 Employee Retirement                                                        485 Telephone Consumer
       Overpayment                                                                                                                                            SOCIAL SECURITY
                                                                                  Damage                                 Income Security Act                                                            Protection Act
    of Veteran’s Benefits              362 Personal Injury -Medical                                                                                          861 HIA (1395ff)
                                           Malpractice                        385 Property Damage Product                                                                                           490 Cable/Sat TV
   160 Stockholders’ Suits                                                        Liability                                IMMIGRATION                       862 Black Lung (923)                   850 Securities/Commodities/
   190 Other Contract                                                                                                462 Naturalization                      863 DIWC/DIWW (405(g))                     Exchange
                                            CIVIL RIGHTS                      PRISONER PETITIONS
   195 Contract Product Liability                                                                                        Application                         864 SSID Title XVI
                                       440 Other Civil Rights                                                                                                                                       890 Other Statutory Actions
                                                                                 HABEAS CORPUS                       465 Other Immigration
   196 Franchise                                                                                                                                             865 RSI (405(g))                       891 Agricultural Acts
                                       441 Voting                             463 Alien Detainee                         Actions
          REAL PROPERTY                442 Employment                                                                                                         FEDERAL TAX SUITS                     893 Environmental Matters
                                                                              510 Motions to Vacate
   210 Land Condemnation               443 Housing/                               Sentence                                                                   870 Taxes (U.S. Plaintiff or           895 Freedom of Information
                                           Accommodations                                                                                                        Defendant)                             Act
   220 Foreclosure                                                            530 General
                                       445 Amer. w/Disabilities–                                                                                             871 IRS–Third Party 26 USC             896 Arbitration
   230 Rent Lease & Ejectment                                                 535 Death Penalty
                                           Employment                                                                                                             § 7609                            899 Administrative Procedure
   240 Torts to Land                                                                   OTHER
                                       446 Amer. w/Disabilities–Other                                                                                                                                   Act/Review or Appeal of
   245 Tort Product Liability                                                 540 Mandamus & Other                                                                                                      Agency Decision
   290 All Other Real Property         448 Education
                                                                              550 Civil Rights                                                                                                      950 Constitutionality of State
                                                                              555 Prison Condition                                                                                                      Statutes
                                                                              560 Civil Detainee–
                                                                                  Conditions of
                                                                                  Confinement

V.           ORIGIN (Place an “X” in One Box Only)
   1      Original                2    Removed from                 3     Remanded from              4    Reinstated or           5 Transferred from                     6    Multidistrict             8 Multidistrict
          Proceeding                   State Court                        Appellate Court                 Reopened                  Another District (specify)                Litigation–Transfer         Litigation–Direct File


VI.          CAUSE OF           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                28 U.S.C. § 1332(a)
             ACTION
                                Brief description of cause:
                                Strict Product Liability (Design Defect and Failure to Warn), Negligence, Violation of California's Unfair Competition Law, Unjust Enrichment, Invasion of Privacy, Sex Discrimination


VII.         REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                               DEMAND $                                              CHECK YES only if demanded in complaint:
             COMPLAINT:                    UNDER RULE 23, Fed. R. Civ. P.                                                                                      JURY DEMAND:             Yes       No

VIII. RELATED CASE(S),                                     JUDGE                                                             DOCKET NUMBER
      IF ANY (See instructions):
IX.         DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)   SAN FRANCISCO/OAKLAND                                                                                  SAN JOSE                               EUREKA-MCKINLEYVILLE


DATE 08/17/2022                                            SIGNATURE OF ATTORNEY OF RECORD                                                        /s/ Laura Marquez-Garrett

                       Print                              Save As...                                                                                                                                   Reset
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             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”
   II.    Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
          pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
          (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
          (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
          (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
              to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
              takes precedence, and box 1 or 2 should be marked.
          (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
              citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
              cases.)
   III.   Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
          Mark this section for each principal party.
   IV.    Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
          sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
          one nature of suit, select the most definitive.
   V.     Origin. Place an “X” in one of the six boxes.
          (1) Original Proceedings. Cases originating in the United States district courts.
          (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
              petition for removal is granted, check this box.
          (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
              date.
          (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
          (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
              multidistrict litigation transfers.
          (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
              § 1407. When this box is checked, do not check (5) above.
          (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
          Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
   VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.
   IX.    Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
          section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
          events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
